1-cv-02846-N-BH Document 11 Filed 01/27/22 Page1of18 PagelD 65

 

IN THE UNITED STATES DISTRICT COURT —
FOR THE DISTRICT OF TEXAS

2022 JAN27 AMIN: S7
Joe Hunsinger

 

Plaintiff Pro-Se’ ooPUTY CLERK \y
Case No: 3-21-CV-02846-N-BH
V.
OFFER LLC.
MICHAEL SCHUTZE
Defendants

PLAINTIFF’S RESPONSE TO DEFENDANTS
MOTION TO DISMISS
AND
REQUEST OF VEXATIOUS LITIGANT
(Document #8)

 

 
 

Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page 2of18 PagelD 66

TABLE OF CONTENTS

INTRODUCTION

FACTUAL BACKGROUND

A Legislative Background
B Plaintiffs Allegations
DEFENDANTS ARGUMENTS

Defendants introduction turns a blind eye to the
legislative background of the TCPA

Defendants Factual background is misleading
Defendants Motion to Dismiss misses the point and
Defendants case authorities are not relevant to
the Plaintiff in this case

PLAINTIFFS ARGUMENTS

Dificulties in identifying callers and their
business practices

Regulations giving Plaintiff a private right of action and
Federal Standards

Courts’s decisions agree - a citizen has the right to
aggressively enforce his rights and privacy rights

Plaintiff's Complaint tips the scales with facts
from the exhibits, affidavit, and this motion

Unresolved controversy

8-9

10

10

10

10-11

12

13

14

15-17

17

 
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page 3of18 PagelD 67

TABLE OF AUTHORITIES

Barr v. Am. Ass'n of Political Consultants, 140 S. Ct.
2335, 2343 (2020)

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
Bell Atl. Corp. v. Wombly, 550 U.S. 544, 570 (2007)

Katrina Canal Breaches Litig., 495 F.3d 191, 205(5th Cir. 2007)

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Billings v Atkinson, 489 S.W.2d 858, 861 (Tex. 1973)

Charvat v. NMP, Ltd. Liab. Co., 656 F.3d 440, 449 (6th Cir. 2011)

Wagner v. CLC Resorts & Devs., Inc., 32 F. Supp. 3d 1193, 1198
(M.D. Fla. 2014)

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d 1187, 1200-01 (M.D. Tenn. 2017)

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at *2 (N.D. Tex. Apr. 9, 2008)

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939 (1946)

10

11, 13

11

11

11

11

11

11

13
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page 4 of 18

Murray v. GMAC Mortg. Corp., 434 F.3d 948, 954 (7th Cir. 2006)

Abramson v. Oasis Power LLC, No. 2:18-cv-00479, 2018 U.S.
Dist. LEXIS 129090, at *16 (W.D. Pa. July 31, 2018)

Owens Ins. Co. v. European Auto Works, Inc., 695 F.3d 814,
819-20 (8th Cir. 2012)

Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649-50
(4th Cir. 2019

Klein v. Commerce Energy, Inc., 256 F. Supp. 3d 563,
576 (W.D. Pa. 2017)

Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012)

Camunas v. Nat'! Republican Senatorial Comm., No. 21-1005,
2021 WL 2144671, at *6 (E.D. Pa. May 26, 2021)

Davis v. D.R. Horton, Inc., No. 19-1686, 2020 WL 1244848,
at *2 (D. Del. Mar. 16, 2020)

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Rosales v. Heath, No. 8:17CV87, 2019 U.S. Dist. LEXIS
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639 (7th Cir. 2012)

Lawrence v. Texas, 539 U.S. 558 (2003)

 

PagelD 68

13

13

14

14

15

15

16

16

16

16

16

16

17
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page5of18 PagelD 69

STATUTES AND REGULATIONS

47 C.F.R. §64.1200(c)(2).
47 U.S.C. § 227(c)(5)

47 C.F.R. § 64.1200(c)(2).
CFR 64.1200(A)(1)

CFR 64.1200(c)(2)(ii)
CFR 64.1200(a)(1)(6)
CFR 64.1200(d)(1)

47 U.S.C. §§ 227(c)

47 U.S.C. § 227(d)(1)-(6)
47 U.S.C. § 227(d)(1)-(4)
47 U.S.C. §§ 227(c)(1)-(6)
47 CFR § 64.1200(d)

47 U.S.C. § 227(c)(5)

47 C.F.R. § 64.1200

CFR 64.1200(d)(2)

47 U.S.C. § 227(c)(1)

 

8,10, 13

8,13

8,9

10,11, 14, 15
8

10

10

10, 11, 16
10,11, 15

11

12

15
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page 6of18 PagelD 70

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guidance/qa-telemarketers-sellers-about-dnc-provisions-tsr Online
FTC.gov Online
RULES

Fed. R. Civ. P. 12(b)(6) 7
APPENDIX

PLAINTIFF’S APPENDIX IN SUPPORT OF PLAINTIFF'S
RESPONSE TO DEFENDANTS MOTION TO DISMISS
AND REQUEST OF VEXATIOUS LITIGANT (Document #8) Appendix

 
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page 7of18 PagelD 71

INTRODUCTION

Generally across the nation, it is said nobody likes telemarketing calls. In Texas it
comparable to fire ants. Nobody likes them and wants anything to do with them
and wished they would all go away. The Telephone Consumer Protection Act of
1991 (TCPA) for the most part “prohibits telemarketing and robocalls to cell phones
and home phones.” Barr v. Am. Ass'n of Political Consultants, 140 S. Ct. 2335,
2343 (2020)

The TCPA makes it unlawful to make calls to any cellular or residential line using an
artificial or prerecorded voice without the call recipient’s prior express consent.
See 47 U.S.C. § 227(b)(1)(A) & (B); In the Matter of Rules & Regulations
Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C. Rcd. 1830, 1844
(2012).

To state a claim upon which relief can be granted, a complaint must contain, inter
alia, “a short and plain statement of the claim showing that the pleader is entitled
to relief.” Fed. R. Civ. P. 8(a)(2). The requirement that a plaintiff “show” that he or
she is entitled to relief means that a complaint “must contain sufficient factual
matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (emphasis added) (quoting Bell Atl.

Corp. v. Wwombly, 550 U.S. 544, 570 (2007)).

Fed. R. Civ. P. 12(b)(6). In considering a Rule 12(b)(6) motion to dismiss, "[t]he
court accepts all well-pleaded facts as true, viewing them in the light most
favorable to the plaintiff." In re Katrina Canal Breaches Litig., 495 F.3d 191, 205(5th
Cir. 2007).

 

 
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page 8of18 PagelD 72

FACTUAL BACKGROUND

The National Do Not Call Registry allows for the registration of telephone numbers
to indicate a desire not to receive telephone solicitations at those numbers. See 47
C.F.R. §64.1200(c)(2). Plaintiff has registered his phone number on the DNC
Registry. See Exhibit A and B._ A listing on the Registry “must be honored
indefinitely, or until the registration is cancelled by the consumer or the telephone
number is removed by the database administrator.” Id. The TCPA and
implementing regulations prohibit the initiation of telephone solicitations to
residential telephone subscribers to the Registry and provides a private right of
action against any entity that makes those calls, or “on whose behalf” such calls
are made. 47 U.S.C. § 227(c)(5); 47 C.FR. § 64.1200(c)(2). Plaintiff has not
removed his number from the DNC Registry. See Affidavit of Joe Hunsinger,
Exhibit B.

In Count 1. The TCPA laws are very clear, anyone participating in a telemarketing
scheme can be held liable. Plaintiff has accused Defendant of these very actions.
An LLC does not run amok by itself, it is the officers and the employees who run
the day to day operations and can be held liable for TCPA violations. Defendant
Micheal Schultz is the officer who created the telemarketing plan on obtaining new
business. In doing so they have violated CFR 64.1200(c)(2) and CFR 64.1200(A)(1)
by initiating calls to the Plaintiff.

In Count 2. The Defendants do not have Plaintiffs consent to be called which is a
violation of CFR 64.1200(c)(2)(ii).

In Count 3. Defendants do not have a written policy in place to avoid liability of
their TCPA violations. CFR 64.1200(a)(1)(6).

In Count 4. Defendants clear received Plaintiffs DNC Policy request but did not
receive it. This is a violation of CFR 64.1200(d)(1).

 
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page9of18 PagelD 73

In Count 5 Plaintiff is demanding treble damages. Burden is shifted on to the
Defendant to prove they are exempt from liability. They cannot. They were told to
stop calling and they contained to call and harass the Plaintiff. Exhibit C and
Exhibit D. And especially, Did Defendant initiate communication with the Plaintiff.
Plaintiffs Complaint clearly states he requested Defendants DNC Policy. His
request was received sent on 10-11-2021. Here we go again, who in their right
mind would have their DNC Policy in their possession and refuse to send it out?
When sending it out would avoid Plaintiffs Count 5 violation of CFR 64.1200(d)(1).

The TCPA laws are also very clear, telemarketers are not allowed to hide their
identities when calling. This is to say - telemarketers must give their name and
business name when placing their telemarketing calls. Plaintiff has accused the
Defendant of this (not identifying themselves), so... does this mean you catch a
tiger by the tow and the tiger says he is not a tiger so you let him go? No.
Discovery must be completed to shine light on these telemarketing calls. Plaintiff
has already provided screenshot showing traceability between the parties, Exhibit
E. The contract Defendant sent to the Plaintiff readily gives the true identity of the
callers in violation of the TCPA. Exhibit F. The email Defendant sent to the
Plaintiff also helps in the identifying process. Exhibit G. In Count 6 Plaintiff has
the right to ask the court for an injunction against the Defendant to stop violating
the TCPA.

In Count 7 Plaintiff is demanding damages for trashing his time and the nuisance it
has caused. It is well understood that “the right to be let alone” is on of the most
valued rights in a civilized society. See Olmstead v. United States, 277 US. 438
(1928). And “the right of privacy is a right distinctive in itself and not incidental to
some other recognized right for breach of which an action for damages will lie.”
Billings v Atkinson, 489 S.W.2d 858, 861 (Tex. 1973).

9
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page 10o0f18 PagelD 74

DEFENDANTS ARGUMENTS

1 Defendants turn _a_ blind eye to the statutory intent of the TCPA. In
considering a Rule 12(b)(6) motion to dismiss, "[t]he court accepts all well-pleaded
facts as true, viewing them in the light most favorable to the plaintiff." In re Katrina
Canal Breaches Litig., 495 F.3d 191, 205(5th Cir. 2007).

Plaintiffs Complaint (Docket No 3) and his Exhibits in this Motion push him over the
threshold most favorable to him.

2 Defendants Factual background is misleading. Plaintiff has every right to
bring suit against a person who violates the TCPA against him. Plaintiff has not
ever been sanctioned by a court for not following the rules or unwilling to
participate in the discovery process, etc.

There is nothing wrong with coming to an amicable settlement agreement. In fact
it is part of what the court wants out of litigation between the parties. In fact, all
parties are actually benefited by an amicable agreement, sooner than later.

3 Defendants Motion to Dismiss misses the point and Defendants case
authorities are not relevant to the Plaintiff in this case. 47 C.F.R. §§ 64.1200(d)(1)-
(6). Courts across the country have held that the 47 U.S.C. § 227(c)(5) provides a
private right of action for claims premised on violations of the TCPA implementing
regulations promulgated pursuant to 47 U.S.C. §§ 227(c)(1)-(4), including
specifically 47 CFR § 64.1200(d). E.g., Charvat v. NMP, Ltd. Liab. Co., 656 F.3d 440,
449 (6th Cir. 2011) (holding that 47 CFR § 64.1200(d) implements 47 U.S.C. §
227(c) and that 47 U.S.C. § 227(c)(5) provides a private right of action for violation
of 47 CFR § 64.1200(d)); Wagner v. CLC Resorts & Devs., Inc., 32 F. Supp. 3d 1193,
1198 (M.D. Fla. 2014) (finding an alleged violation of 47 CFR § 64.1200(d) sufficient
to support claim a under 47 U.S.C. § 227(c)(5)).

10
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page 11o0f18 PagelD 75

This is because “[w]hile many portions of 47 C.F.R. § 64.1200 could arguably be
attributed to more than one subsection of the TCPA, ... the internal do-not-call
procedures of 47 C.F.R. § 64.1200(d) fit cleanly under the rubric of 47 U.S.C. §
227(c)'s mandate to adopt adequate donot-call regulations.” Cunningham v. Rapid
Response Monitoring Servs., 251 F. Supp. 3d 1187, 1200-01 (M.D. Tenn. 2017); see
Simmons v. Charter Communs., Inc., 222 F. Supp. 3d 121, 130- 31 (D. Conn. 2016)
(“A violation of subsection (d) gives rise to TCPA liability under section 227(c)(5).”).

Defendant is asking the court to declare Plaintiff a vexatious litigant and offers 3
cases in its attempts to paint Plaintiff in a bad light. Ruston v. Dallas County, No.
3:07-cv-1076-D, 2008 WL 958076 at *2 (N.D. Tex. Apr. 9, 2008) and Thander v.
Time Warner, Inc. 352 F. Appx. 891, 900 (5th Cir. 2009) and Ferguson v. MBank
Houston, NA, 808 F.2d 358, 360 (5th Cir. 1986) Day v. Allstate Ins. Co., 788 F.2d
1110 (5th Cir. 1986). Wow, 3 complete inoposite cases, with respect to the
Plaintiff.

Ruston was a prisoner who was found to have filed 3 frivolous and malicious
lawsuits in form a puaperus. Plaintiff has not filed frivolous lawsuits and has
always paid his costs. Thander (actually Thaneder) is an unpublished opinion from
the far away state of Illinois. The court narrowly prevented Thaneder from filing
any motions or actions that directly raised issues addressing the the instant case.
Thaneder refused to attend depositions and failed to respond to discovery
requests. And the district court concluded it was one of the grossest abuses
observed in the course of 22 years of the federal bench. Ferguson was found to be
frivolous and irrational and filed another similar suit against the same parties. He
was doing this to harass others. Day disregarded district court orders and verbally
abused defendants attorneys in a deposition. And then he verbally attacked the
district judge himself, judge’s law clerks, and various others court officers.
Defendant has failed to bring up cases involving the TCPA that directly apply to
Plaintiffs allegations.

11
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page12o0f18 PagelD 76

PLAINTIFFS ARGUMENTS

Without the identifying information and the rules of evidence needed to bring a
successful action in court, if would be impossible to ascertain the true identities of
the calling parties because they do not give out their real names. Without
traceability and the true identity of the initiating callers, It would not pass the
summary judgment stage.

Defendant completely ignores the fact that Defendant is in the business of making

telemarketing and robocalls to generate new business. No where in the TCPA
law does it mandate a consumer to: “must” or “shall” inform the telemarketer he is
on the DNC Registry. In the Past for years, Plaintiff has told almost every
telemarketer that called him he was on the DNC Registry and the responses were
either “| am sorry” or just plaint hung up on and the such. Plaintiff has every right
to give out his email the TCPA violator to find out their true identity.

Plaintiffs Complaint clearly points out Defendants violations of the TCPA. Despite
Defendants protestations and accusations of a vexatious litigator, Plaintiffs
Complaint does not rely on speculation or conjecture. Instead interaction is further
explained in the Complaint and how it is consistent with Defendants business
model. The Exhibits provided back up Plaintiffs allegations. Plaintiffs Complaint
explains that the Defendant offers to buy properties and it does through
telemarketing using the phone and text messages and email. At no point did
Plaintiff initiate and solicit information regarding the services of the Defendant.
Defendant drew first blood, Defendant initiated and solicited the Plaintiff first.

As soon as Plaintiff obtained Defendant’s true identity, Plaintiff asked to be
removed from their internal calling list and to be sent a copy of their DNC Policy.
Plaintiff did not receive their DNC Policy. Exhibit C. That is a violation of CFR
64.1200(d)(2).

12

 
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page 13o0f18 PagelD 77

Plaintiff does not loose his rights by exercising them. Can any one loose their
rights by talking too much? No. Defendant is pointing out that Plaintiff has filed
over 50 lawsuits, but it does not take into considerations the judgments and offers
of judgments he has obtained. Again, there is nothing wrong with settling a case.

Defendants Motion to Dismiss ignore the some of Plaintiffs common questions of
law and fact that are in controversy and have not been resolved from his
complaint. Under the TCPA any call is a violation.

The TCPA and implementing regulations prohibit the initiation of telephone
solicitations to residential telephone subscribers to the Registry and provides a
private right of action against any entity that makes those calls, or “on whose
behalf” such calls are made. 47 U.S.C. § 227(c)(5) and 47 C.F.R. § 64.1200(c)(2).

A facial attack is made by the mere filing of a Rule 12(b)(1) motion, at which point
"the trial court is required merely to look to the sufficiency of the allegations in the
complaint because they are presumed to be true." Id. If those allegations
sufficiently allege a claim for recovery the complaint stands and the federal court
must entertain the suit. Id.; see also Bell v. Hood, 327 U.S. 678, 681-82, 66 S. Ct.
773, 90 L. Ed. 939 (1946).

For many years Plaintiff told the unwanted callers to stop calling and they did not
stop. One day Plaintiff had enough and decided to do something about it.
Plaintiffs, as private citizens motivated to fight back against illegal telemarketers,
are precisely the sort of plaintiffs Congress intended the TCPA to protect, and fit
squarely within the TCPA. Indeed, “[nlothing in the Constitution ... requires a
plaintiff to be a naif. Litigation is not college athletics: there is no ‘amateurs only’
rule.” Cunningham v. Rapid Response Monitoring Servs., 251 F. Supp. 3d at 1195.
See also Murray v. GMAC Mortg. Corp., 434 F.3d 948, 954 (7th Cir. 2006)

13

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Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page 14o0f18 PagelD 78

The results are positive in Plaintiffs personal life. Plaintiff is receiving less
unwanted calls. Plaintiff was never seeking these unwanted calls. (“It implies
experience, if not expertise. The district judge did not cite a single decision
supporting the proposition that someone whose rights have been violated by 50
different persons may sue only a subset of the offenders.”); Abramson v. Oasis
Power LLC, No. 2:18-cv-00479, 2018 U.S. Dist. LEXIS 129090, at *16 (W.D. Pa. July
31, 2018) (“As other courts addressing this issue have agreed, a citizen’s decision
to aggressively enforce his rights under the TCPA should not negate otherwise valid

privacy interests”).

Defendants’ calls invaded Plaintiffs’ privacy and were a nuisance. Nuisance and
invasion of privacy are the precise harms that Congress sought to prevent in
enacting the TCPA. See 47 U.S.C. § 227 (Congressional Findings). See also Owens
Ins. Co. v. European Auto Works, Inc., 695 F.3d 814, 819-20 (8th Cir. 2012) (“[T]he
ordinary meaning of the term ‘right of privacy’ easily includes violations of the type
of privacy interest protected by the TCPA.”).

But this is simply not the case, as the Fourth Circuit Court of Appeals has explained
with respect to TCPA in a case where a judgment was sustained for over
$61,000,000 following a trial where Dish Network was found to have an agent
contact individuals on the National Do Not Call Registry, “this private cause of
action is a straightforward provision designed to achieve a straightforward result.
Congress enacted the law to protect against invasions of privacy that were
harming people. The law empowers each person to protect his own personal rights.
Violations of the law are clear, as is the remedy. Put simply, the TCPA affords relief
to those persons who, despite efforts to avoid it, have suffered an intrusion upon
their domestic peace.” Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th
Cir. 2019).

14

 
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page 15o0f18 PagelD 79

Plaintiffs Complaint is not vague or insufficient to form a the bases of a lawsuit.

Accordingly, “[i]f proposed interpretations of the TCPA are equally plausible, the
scales tip | n favor of the consumer.” Klein v. Commerce Energy, Inc., 256 F. Supp.
3d 563, 576 (W.D. Pa. 2017). Thus, if this Court has any doubts despite the above
authority regarding the application of the statute to cover unsolicited calls to
cellular telephones, this Court should tip the scales in favor of Plaintiff.

Plaintiff brings this action under the TCPA, a federal statute enacted in response to
widespread public outrage about the proliferation of intrusive, nuisance
telemarketing practices. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745
(2012). § 227(c) of the TCPA requires the FCC to “initiate a rulemaking proceeding
concerning the need to protect residential telephone subscribers’ privacy rights to
avoid receiving telephone solicitations to which they object.” 47 U.S.C. § 227(c)(1).

The laws of the TCPA and to everybody’s understanding is an unsolicited call/text
are illegal period. Defendant clearly ignores Plaintiffs Complaint and the
Defendant is the one who has come to the table with unclean hands and is pulling
bunny rabbits out of hats as evidence and case law. This is the start of a lawsuit,
enough facts have been alleged and Plaintiff has supplied a copy of his DNC
registration. Exhibit B. Exhibit B is a fact. If Defendant disbelieves Plaintiffs
Exhibit A and B they should have done so in their Discovery and at the Summary
Judgment stage with evidence provided directly from the FTC.gov about Plaintiffs
verification of registration.

Section 64.1200(d) and § 227(c) are similar in that they are both principally
concerned with the protection of individual privacy rights. See Rosenberg, 435 F.
Supp. 3d at 324 (noting that the primary purpose of § 227(c) is to ensure that
subscribers “avoid receiving telephone solicitations to which they object.”). This is
exactly what Plaintiff is complaining about and Defendant continued to contact
Plaintiff. Exhibit C and D.

15
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page 16 o0f18 PagelD 80

 

However, even though a plaintiff “will rarely, if ever, know the specific functionality
of a system used by a defendant” before discovery, the plaintiff must still allege
sufficient facts to “nudge” his claim “across the line from conceivable to
plausible.” Camunas v. Nat'l Republican Senatorial Comm., No. 21-1005, 2021 WL
2144671, at *6 (E.D. Pa. May 26, 2021) (quoting Davis v. D.R. Horton, Inc., No. 19-
1686, 2020 WL 1244848, at *2 (D. Del. Mar. 16, 2020) and Twombly, 550 U.S. at
570, 127 S.Ct. At 1974) Plaintiff is proofing Defendant has called him numerous
times in the past 4 years.

Plaintiff did not give his consent to be contacted. Consent under the TCPA is an
affirmative defense. See Rosales v. Heath, No. 8:17CV87, 2019 U.S. Dist. LEXIS
225294, at *9 (D. Neb. June 27, 2019) (“The FCC ruled that ‘if any question arises
as to whether prior express consent was provided by a call recipient, the burden is
on the caller to prove that it obtained the necessary prior express consent.’
Consistent with that burden, all circuit courts deciding the question of whether
consent is part of a prima-facia TCPA case or an affirmative defense have
concluded that consent is an affirmative defense”.)

Defendant brings up Hunsinger v Ellis Acquisitions, LLC, Case No. 3:21-cv-00804-B.
Plaintiff had filed a lawsuit against Ellis due to an “Ashley Schultze’s” illegal calls.
Ashleys last name is very similar to Defendants Michael Schuze last name and
Defendants attorney is providing information only known to the parties - this would
lead the Plaintiff to believe they know each other or are related to each other.
Only after discovery is completed will it be known if Ashley has changed her name

by one letter in, her last name, to be used as a public contact. And, “like the
buckets enchanted by the Sorcerer’s Apprentice, [they] continue until stopped by
their true master.” Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 639 (7th
Cir. 2012).

 
 

Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page17of18 PagelD 81

Defendant has not come out in the open and disclosed how they obtained Plaintiffs
phone number or to explain their business practice. Defendants motion to dismiss
claims Plaintiff baited them, but has failed to explain how he did this. Telepathy?
No. Upon obtaining Defendants true identity, Plaintiff sent notice to to Defendant
to stop calling him on 10-11-2021 at 956 AM. Plaintiff did this so that the calls
would stop. Unfortunately the calls did not stop and Defendant continued to call
the Plaintiff on 10-11-2021 at 11:03 AM and 4:15 PM. Exhibit C and D. The right
to privacy is also protected under the Constitution. See, e.g., Lawrence v. Texas,
539 U.S. 558 (2003).

Defendants Motion to Dismiss ignore the some of Plaintiffs common questions of
law and fact that are in controversy and have not been resolved from his
complaint.

Whether Defendant(s) sent Plaintiff their DNC policy when it was
requested;

Whether Defendant(s) uses telemarketing to obtain new
customers;

Whether Defendant(s) written DNC policy was shared with
anyone “on demand.”;

Whether Plaintiff requested Defendant’s DNC Policy;

Whether Defendant(s) have a process in place to monitor calls to
prevent violations of the do not call list;

Did Defendants call Plaintiff more than one time within any
12 month period more than 30 days after he registered
his residential phone number on the National Do Not Call Registry;

Whether Defendant called the Plaintiff after they were told to
stop calling;

Whether Plaintiff told the Defendant to stop calling.
Case 3:21-cv-02846-N-BH Document 11 Filed 01/27/22 Page 18o0f18 PagelD 82

For the reasons stated herein, the Plaintiff has put Defendant on clear notice of his

claim against them. However, if the Court disagrees the Plaintiff requests that he
be permitted leave to amend is complaint.

Joe Fistnger
Plaint#f Pro-Se

7216 C.F. Hawn Frwy.
Dallas, Texas 75217

214-682-7677
joe75217@gmail.com

CERTIFICATE OF SERVICE

| hereby certify that a copy of the foregoing was sent to the Defendant.

FUL
Joe Waa Pese—
Plaintiff Pro-

7216 C.F. Hawn Frwy.
Dallas, Texas 75217

214-682-7677
joe75217@gmail.com

18

 
